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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TENNESSEE
                                     WESTERN DIVISION


STATE FARM AND CASUALTY                               )
COMPANY, as Subrogee of Talus Properties,             )
Inc. and Melrose Midtown, LLC.,                       )
                                                      )
           Plaintiff,                                 )       Case No. 2:19-2330-JPM-cgc
                                                      )
TALUS PROPERTIES, INC. and MELROSE                    )
MIDTOWN, LLC,                                         )
                                                      )
           Intervening Plaintiffs,                    )
                                                      )
v.                                                    )
                                                      )
JOSE ALFREDO SANDOVAL,                                )
                                                      )
           Defendant.                                 )


                              SECOND AMENDED SCHEDULING ORDER


           This Cause was before the Court on December 2, 2020 for a Telephonic Status/Scheduling

Conference. (ECF No. 49.) Also on December 2, 2020, the Court entered an Order Following

Conference, which required the Parties to submit a Proposed Amended Scheduling Order by no

later than January 22, 2021. (ECF No. 51.) The Parties having submitted their Proposed Amended

Scheduling Order, the following dates are established as the final deadlines for:

MOTIONS TO AMEND PLEADINGS: March 7, 2021

MOTIONS TO DISMISS (likely not applicable): April 7, 2021

COMPLETING ALL DISCOVERY: July 7, 2021

(a)        WRITTEN DISCOVERY: June 7, 2021 1
(b)        DEPOSITIONS: July 7, 2021

1
    Written discovery is “substantially completed.”

                                                      1
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EXPERT WITNESS DISCLOSURES PURSUANT TO FED. R. CIV. P. 26(a)(2):

(a)   DISCLOSURE OF PLAINTIFF’S (OR PARTY WITH BURDEN OF PROOF)
      RULE 26(a)(2) EXPERT INFORMATION: May 7, 2021

(b)   DISCLOSURE OF DEFENDANT’S (OR OPPOSING PARTY) RULE 26(a)(2)
      EXPERT INFORMATION: June 7, 2021

(c)   EXPERT WITNESS DEPOSITIONS: July 7, 2021

MOTIONS TO EXCLUDE EXPERTS UNDER F.R.E. 702/DAUBERT MOTIONS: July
22, 2021

SUPPLEMENTATION UNDER RULE 26(e)(2): July 7, 2021

FILING DISPOSITIVE MOTIONS (probably not applicable): August 1, 2021

TRIAL:

1.    The jury trial in this matter, which is anticipated to last 3–4 days, is set to begin on
      Tuesday, September 7, 2021 in a courtroom to be designated by the District Court
      courtroom sharing plan.

2.    A pretrial conference is set for August 27, 2021 at 9:30 a.m.

3.    The joint proposed pretrial order, proposed verdict form, proposed jury instructions,
      proposed voir dire questions, and motions in limine are due by no later than 4:30 p.m.
      on August 20, 2021.

      SO ORDERED, this 25th day of January, 2021.

                                                    /s/ Jon P. McCalla
                                                  JON P. McCALLA
                                                  UNITED STATES DISTRICT JUDGE




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